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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 16-4779-JFW (Ex)                                           Date: November 16, 2016

Title:        Javier Quiroz -v- Cavalry SPV I, LLC

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                  None Present
              Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                ORDER GRANTING DEFENDANT CAVALRY SPV I,
                                          LLC’S MOTION TO COMPEL ARBITRATION [filed
                                          10/20/16; Docket No. 28]

       On October 20, 2016, Defendant Cavalry SPV I, LLC (“Defendant”) filed a Motion to Compel
Arbitration (“Motion”). On October 31, 2016, Plaintiff Javier Quiroz (“Plaintiff”) filed his Opposition.
On November 7, 2016, Defendant filed a Reply. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision without
oral argument. The hearing calendared for November 21, 2016 is hereby vacated and the matter
taken off calendar. After considering the moving, opposing, and reply papers, and the arguments
therein, the Court rules as follows:

        For the reasons stated in Defendant’s moving and reply papers, the Court concludes that
the arbitration agreement is valid and enforceable and that all of the claims asserted in the
Complaint are within the purview of the arbitration agreement. Accordingly, Defendant’s Motion is
GRANTED, and this action is STAYED pending the results of arbitration. The Court adopts as its
ruling, as modified, the Proposed Statement of Decision Granting Defendant Cavalry SPV I, LLC’s
Motion to Compel Arbitration, lodged with the Court on November 9, 2016 [Docket No. 37-1].

         IT IS SO ORDERED.




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